                 Case 2:12-cr-00169-TLN Document 195 Filed 09/27/13 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 JASON HITT
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-00169 MCE

12                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER

14   LAWRENCE KENNEDY NELSON,

15                                  Defendant.

16
17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Lawrence

19 Kennedy NELSON, by and through his counsel of record, V. Roy Lefcourt, Esq., hereby stipulate as

20 follows:

21          1.       By previous order, this matter was set for status on September 26, 2013.

22          2.       By this stipulation, defendant now moves to continue the status conference until

23 November 21, 2013, and to exclude time between September 26, 2013, and November 21, 2013, under

24 Local Codes T2 and T4. Plaintiff does not oppose this request.
25          3.       The parties agree and stipulate, and request that the Court find the following:

26                   a)     The government has represented that the discovery associated with this case

27          includes hundreds of intercepted calls, lengthy wiretap applications, affidavits, and order, written

28          discovery in the form of investigative and surveillance reports and related documents in

                                                          1
      Case 2:12-cr-00169-TLN Document 195 Filed 09/27/13 Page 2 of 3


 1   electronic form (consisting of more than 1,900 pages. All of this discovery has been either

 2   produced directly to counsel and/or made available for inspection and copying through a third-

 3   party discovery service.

 4          b)      Counsel for defendant desires additional time to continue investigating any

 5   possible defenses to the charges, consult with his client, conduct investigation and research

 6   related to the charges, review and copy discovery for this matter, and discuss potential

 7   resolutions with his client.

 8          c)      Counsel for defendant believes that failure to grant the above-requested

 9   continuance would deny him the reasonable time necessary for effective preparation, taking into

10   account the exercise of due diligence.

11          d)      The government does not object to the continuance.

12          e)      Based on the above-stated findings, the ends of justice served by continuing the

13   case as requested outweigh the interest of the public and the defendant in a trial within the

14   original date prescribed by the Speedy Trial Act.

15          f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

16   et seq., within which trial must commence, the time period of September 26, 2013, to November

17   21, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

18   Code T4] because it results from a continuance granted by the Court at defendant’s request on

19   the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

20   best interest of the public and the defendant in a speedy trial.

21          g)      This time period is also deemed excludable pursuant to 18 U.S.C. §

22   3161(h)(7)(B)(ii) [Local Code T2]. This Court has previously made the finding that this matter

23   is complex within the meaning of Local Code T2 based upon representations of counsel, the

24   large number of defendants charged in this case and the related case of United States v. Nicholas

25   Ramirez, et al., Case No. 2:11-CR-00190 MCE, and the Court’s familiarity with the underlying

26   wiretap investigations.

27

28
                                                   2
                 Case 2:12-cr-00169-TLN Document 195 Filed 09/27/13 Page 3 of 3


 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.

 4          IT IS SO STIPULATED.

 5 Dated: September 24, 2013                                   BENJAMIN B. WAGNER
                                                               United States Attorney
 6

 7                                                             /s/ Jason Hitt
                                                               JASON HITT
 8                                                             Assistant United States Attorney

 9

10 Dated: September 24, 2013                                   /s/ Jason Hitt for V. Roy Lefcourt
                                                               Counsel for Defendant – authorized to sign by
11                                                             email

12

13
                                                       ORDER
14

15          IT IS SO ORDERED.

16 Dated: September 26, 2013
17

18

19

20

21
22

23

24
25

26
27

28
                                                           3
